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                                                              June 12, 2020

    Via ECF

    The Honorable Loretta A. Preska
    District Court Judge
    United States District Court for the
    Southern District of New York
    500 Pearl Street
    New York, NY 10007

                     Re:   Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

    Your Honor:

                    Pursuant to Your Honor’s Individual Practices, I respectfully submit the attached
    request for conference. Professor Dershowitz’s counsel at Todd & Weld LLP will be taking the
    lead on this issue.

                                                              Respectfully Submitted,

                                                              /s/

                                                              Andrew G. Celli, Jr.




    Encl.
